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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                            )
                                                     )
                      Plaintiff,                     )
                                                     )
       vs.                                           )      CR No. 05-1849 JH
                                                     )
DANA JARVIS, et.al.,                                 )
                                                     )
                      Defendant.                     )


                                   NOTICE OF PUBLICATION

       Notice of Forfeiture was published on www.forfeiture.gov for at least 30 consecutive

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                                                     Respectfully submitted,

                                                     KENNETH J. GONZALES
                                                     United States Attorney

                                                       Electronically filed September 12, 2011
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I HEREBY CERTIFY that on September 12, 2011, I filed the foregoing pleading electronically
through the CM/ECF system, which caused the parties or counsel of record to be served by electronic
means, as more fully reflected in the Notice of Electronic Filing.

/s/
CYNTHIA L. WEISMAN
Assistant U.S. Attorney
